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                          UNITED STATES DISTRICT COURT FOR
                         THE WESTERN DISTRICT OF KENTUCKY

Ronald Chad Allen,                                    )
                                                      )
                        Plaintiff,                    )
                                                      )
     v.                                               )    Civil Action No.: 3:17-cv-00211
                                                      )
Equifax Information Services, LLC, et al.             )   Judge David J. Hale
                                                      )
                        Defendants.                   )
                                                      )

                                     NOTICE OF SETTLEMENT

          Plaintiff, Ronald Chad Allen, by and though his attorney, informs this Honorable Court

that he has settled his claims with Defendant, Hillcrest Credit Agency. The parties are in the

process of finalizing settlement, and Plaintiff anticipates the settlement will be finalized in 40

days. This settlement does not and is not intended to affect Plaintiff's claims against any other

defendant.


Respectfully submitted,

s/James H. Lawson                                   /s/John P. Langenderfer
James H. Lawson                                     John P. Langenderfer (KY# 96040)
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Attorneys for Plaintiff                             Trial Attorneys for Defendant
                                                    Hillcrest Credit Agency




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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was this April 28,
2017 served, by via the Court’s ECF System upon all parties.


                                               s/John P. Langenderfer
                                               John P. Langenderfer (KY# 96040)
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